        Case 9:14-cr-00023-DLC Document 50 Filed 07/11/14 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 14–23–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 BRIAN DAVID BAUER,

                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on June 25, 2014. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Brian David Bauer’s guilty


                                           1
        Case 9:14-cr-00023-DLC Document 50 Filed 07/11/14 Page 2 of 2



plea after Bauer appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of conspiracy to distribute

ecstacy in violation of 21 U.S.C. § 841(a)(1) and 846 as set forth in Count I of the

Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Count II of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

46), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that the Motion to Change Plea (Doc. 27) is

GRANTED and Brian David Bauer Johnson is adjudged guilty as charged in

Count I of the Indictment.

      DATED this 11th day of July, 2014.




                                          2
